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                           UNITED STATES DISTRICT COURT
14                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15
16   JENNY LISETTE FLORES, et al.,         )      Case No. CV 85-4544 DMG (AGRx)
                                           )
17          Plaintiffs,                    )      PLAINTIFFS’ APPLICATION FOR
18   - vs -                                )      EXTENSION OF TIME TO FILE
                                           )      RESPONSE TO DEFENDANTS’ EX
19   JEFFERSON B. SESSIONS, ATTORNEY       )      PARTE APPLICATION FOR
20   GENERAL OF THE UNITED STATES, et al., )      LIMITED RELIEF FROM
                                           )      SETTLEMENT AGRREEMENT
21          Defendants.                    )
22                                         )      [HON. DOLLY M. GEE]
23   _
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1
2          Pursuant to Section 6 of this Court’s Procedures (the “Procedures”), for the
3
     reasons set forth below, Plaintiffs respectfully request that the Court either (1) schedule
4
5    a hearing on Defendants’ Ex Parte Application to modify the 1997 Flores Agreement
6
     (“Exparte Application”) [Dkt. 435-1] with a reasonable briefing schedule, or (2) grant
7
     Plaintiffs an extension of ten (10) days to respond to Defendants’ ex parte application
8
9    to modify the Agreement.
10
           Initially, Plaintiffs note that Defendants failed to comply with the Procedures
11
     and to “serve the ex parte application on the opposing party by fax, email, or hand
12
13   delivery and … notify the opposing party that any opposition must be filed not later
14
     than 24 hours after the service of the application. The moving party shall advise the
15
     Court in its application whether opposing counsel will be filing opposition.” The
16
17   declaration of August E. Flentje complies only with certain but not the relevant
18
     portions of the Procedures set forth above.
19
           The Procedures also require the moving party to advise the Court of, “what
20
21   efforts, if any, have been made to confer with opposing counsel regarding the
22
     substance of the application and any potential resolution prior to the filing of the
23
     application.” Procedures Section 6. While the Department of Justice informed the
24
25   undersigned counsel by telephone the evening of Wednesday June 20, 2018, that
26
     pursuant to the instructions of President Trump, Defendant’s intended to immediately
27
28
     file a request to modify the Agreement in a manner that would irreparably harm and

                                                   1

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1    curtail the rights of class member children. The Department of Justice did not engage
2    in meaningful and substantive meet and confer, offering no explanation for its position.
3
           The Ex Parte Application seeks relief from two critical provisions of the Flores
4
5    Agreement: (1) the general policy favoring release; and (2) the requirement that
6
     children be detained in licensed facilities. These same or similar requests were
7
     previously made to this Court and rejected. The broad relief Defendants seek cannot
8
9    be granted without full consideration of the relevant factual and legal issues involved.
10
     It is impossible for Plaintiffs and their counsel to prepare such papers overnight. They
11
     need a reasonable opportunity to submit opposition papers that address Defendants’
12
13   arguments.
14
           Plaintiffs also believe it is worth noting that Defendants appear to concede in
15
     their memorandum that the record as presented in the Ex Parte Application is
16
17   insufficient for this Court to grant the relief requested. See Defs.’ Mem. at 19-20
18
     (“The Government is prepared to make a more thorough showing, if necessary, in
19
     support of this request to amend the Flores Settlement Agreement”). Plaintiffs
20
21   respectfully submit that Defendants should submit their application in full, Plaintiffs
22
     will then respond, and the Court can then decide the application. Thus, Plaintiffs
23
     believe that this Court should establish an orderly briefing schedule to govern
24
25   Defendants’ application that avoids inefficient piece-mail briefing.
26
           In light of President Trump’s recent catastrophic and chaotic policy and practice,
27
28
     adopted without prior notice to Plaintiff’s Class Counsel or this Court, of separating

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1    class members from their parents without a rational and humane reunification plan in
2    place, Flores counsel with the assistance of volunteer attorneys, paralegals, and
3
     interpreters are interviewing class members at facilities in California, Arizona, Texas,
4
5    and Pennsylvania, in order to be fully informed about the experiences of class
6
     members and the extent to which these experiences may violate the Agreement.
7
     Depending on the facts gathered over the next several days, Flores counsel may
8
9    conclude their responsibilities to the class require them to seek emergency relief from
10
     this Court.
11
           A proposed Order is being submitted herewith.
12
13   Dated: June 22, 2018                   Respectfully submitted,
14
                                            CENTER FOR HUMAN RIGHTS &
15                                          CONSTITUTIONAL LAW
                                            Peter A. Schey
16
                                            Carlos Holguín
17
                                            ORRICK, HERRINGTON & SUTCLIFFE LLP
18                                          Elena García
19
                                            LA RAZA CENTRO LEGAL, INC.
20                                          Michael Sorgen
21
                                            LAW FOUNDATION OF SILICON VALLEY -
22                                          LEGAL ADVOCATES FOR CHILDREN & YOUTH
                                            Jennifer Kelleher Cloyd
23
                                            Katherine H. Manning
24                                          Annette Kirkham
25                                          Of counsel:
26
                                            YOUTH LAW CENTER
27                                          Virginia Corrigan
28
                                            /s/Peter Schey ____________
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1                                       Attorneys for Plaintiffs
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1                                    CERTIFICATE OF SERVICE
2           I, Peter Schey, declare and say as follows:
3
            I am over the age of eighteen years of age and am a party to this action. I am
4
5    employed in the County of Los Angeles, State of California. My business address is
6
     256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
7
            On June 22, 2018, I electronically filed the following document(s):
8
9       •   APPLICATION FOR EXTENSION OF TIME TO FILE OPPOSITION TO
            DEFENDANTS’ EX PARTE APPLICATION FOR LIMITED RELEIF FROM
10
            SETTLEMENT AGRREEMENT
11
     with the United States District Court, Central District of California by using the
12
13   CM/ECF system. Participants in the case who are registered CM/ECF users will be
14
     served by the CM/ECF system.
15
                                                     /s/Peter Schey
16
                                                     Attorney for Plaintiffs
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            PLAINTIFFS’ APPLICATION FOR EXTENSION OF TIME CV 85-4544-DMG (AGRX)
